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                                         INTRODUCTION


       I, Alexa Montesano, (hereafter referred to as affiant) been duly sworn depose and state:


       1.         I am a Special Agent with the Drug Enforcement Administration (DEA), assigned
to the Detroit Field Division, Columbus District Office. As such, I am an “investigative or law
enforcement officer” of the United States within the meaning of Title 18, United States Code,
Section 2510(7), that is, an officer of the United States who is empowered by law to conduct
investigations of and to make arrests for offenses enumerated in Title 18 United States Code,
Section 2516(1). During this time, your affiant has accumulated the following training and
experience:


       2.         I graduated from the DEA Academy located in Quantico, Virginia in 2021. I
received approximately 16 weeks of specialized narcotics related training. The training included
controlled substances identification, narcotics related investigative techniques, interview and
interrogation training, preparation of search warrants, tactical application of narcotics
enforcement, surveillance and electronic monitoring techniques, and money laundering
investigations.


       3.         As a DEA agent, I have participated in the execution of numerous search warrants
at residences and businesses of narcotics traffickers, safe houses, crack houses, and have
participated in numerous search warrants and investigations for drug related offenses.


       4.         As a DEA agent, I have participated in investigations targeting individuals and
organizations trafficking heroin, cocaine, cocaine base (“crack”), marijuana, fentanyl, and its
analogues, methamphetamine and other controlled substances as defined in 21 U.S.C. § 801. I
know that these are controlled substances under 21 U.S.C. § 801.


       5.         During the course of my law enforcement career, I have had experience in
debriefing defendants, interviewing participating witnesses, cooperating individuals, and other
persons who have personal knowledge and experience regarding the amassing, spending,

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conversion, transportation, distribution and concealment of records and proceeds of trafficking in
controlled substances.


       6.      Before joining DEA, I was a police officer for approximately two years, during the
course of my law enforcement career, I have had experiences with narcotics investigations.


       7.      The facts and information contained herein are based on my personal knowledge
and experience, that of other law enforcement personnel, surveillance operations, and from persons
with knowledge regarding relevant facts and witnesses. This affidavit is intended to show that
there is sufficient probable cause for the requested warrants and does not set forth all of my
knowledge about this investigation.


                                      PROBABLE CAUSE


       8.      In October 2022, members of the DEA Columbus District Office (hereinafter,
“CDO”) established an investigation into the Charles ALLEN (hereinafter, “ALLEN”) Drug
Trafficking Organization (hereinafter, “DTO”). During the course of the investigation to date,
investigators have identified ALLEN to be distributing fentanyl and cocaine in the Columbus,
Ohio, area. Investigators have interviewed a cooperating source (hereinafter, “CS”), who
confirmed ALLEN to be a fentanyl and cocaine distributor in Columbus, Ohio. Investigators have
identified 1507 Arlington Avenue, Columbus, Ohio, as ALLEN’s primary residence, and 1506
Arlington Avenue, Columbus, Ohio, and 93 Bird Street, Gahanna, Ohio, as stash house locations
for ALLEN’s narcotics. 1507 and 1506 Arlington Avenue are located within 1,000 feet of the
Linden Park Early Childhood Education Center located at 1400 Myrtle Avenue, Columbus, Ohio.
Information provided by the CS has been corroborated by your affiant, and/or other investigators
assigned to the case. This corroboration was achieved through various investigative techniques to
include but not limited to, administrative subpoenas, tracker warrants, geo-location warrants, and
controlled purchases of fentanyl and cocaine.


       9.      In the month of May, through a series of recorded telephone calls between the CS
and ALLEN, utilizing 614-818-8511 (hereinafter referred to as “8511”), ALLEN agreed to

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distribute cocaine to the CS at 1507 Arlington Avenue. During pre-surveillance, investigators
observed ALLEN exit 1507 Arlington Avenue and depart the area in his respective vehicle.
Through a court authorized federal search warrant for geo-locations data, investigators observed
the geo-location of 8511 moving away from 1507 Arlington Avenue. Investigators maintained
electronic surveillance on ALLEN and maintained physical surveillance at 1507 Arlington
Avenue.


       10.     Prior to the CS arriving at 1507 Arlington Avenue, investigators searched the CS
and the CS’ vehicle for contraband and/or currency with negative results. The CS was provided
with a recording device and Official Advanced Funds (OAF) to purchase the narcotics from
ALLEN. Investigators observed the CS arrive at 1507 Arlington Avenue. A few moments after
the CS arrived at 1507 Arlington Avenue, investigators observed ALLEN arrive at 1507 Arlington
Avenue. The CS and ALLEN then entered into 1507 Arlington Avenue. Investigators observed
the geo-location of 8511 to be in the area of 1507 Arlington Avenue. While inside of 1507
Arlington Avenue, the CS exchanged $4,600.00 in OAF for approximately 240 gross grams of
cocaine and exchanged $400.00 for approximately 90 gross grams of fentanyl.


       11.     Approximately an hour later, investigators observed the CS and ALLEN walking
away from 1507 Arlington Avenue engaged in conversation. After a brief conversation, the CS
entered into his/her vehicle and departed the area. At the same time that the CS entered into his/her
vehicle, investigators observed ALLEN enter into his respective vehicle and depart the area.
Pursuant to the meet, the CS provided investigators with approximately 240 gross grams of cocaine
and approximately 90 gross grams of fentanyl, which later field tested positive for fentanyl, which
was purchased from ALLEN with OAF. Investigators searched the CS and the CS’ vehicle for
contraband and/or currency with negative results.


       12.     In or about June 2023, the CS provided investigators with ALLEN’s new telephone
number, (614) 212-3042, (hereinafter referred to as “3042”). Through a series of recorded
telephone calls between the CS and ALLEN, ALLEN agreed to conduct the narcotic transaction
with the CS at 93 Bird Street in Gahanna, Ohio. Prior to the meet between the CS and ALLEN,
investigators searched the CS and the CS’ vehicle for contraband and/or currency with negative

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results. The CS was provided with a recording device and OAF to purchase the narcotics from
ALLEN. The CS and the CS’ vehicle arrived at 93 Bird Street and was met by ALLEN. While
inside of 93 Bird Street, the CS exchanged $1,000.00 in OAF for approximately 90 gross grams
of fentanyl from ALLEN. Pursuant to the meet, the CS provided investigators with approximately
90 gross grams of fentanyl, which was later tested by the DEA North Central Laboratory and tested
positive for fentanyl, which was purchased from ALLEN with OAF. Investigators searched the
CS and the CS’ vehicle for contraband and/or currency with negative results.


       13.     In the month of July 2023, through a series of recorded telephone calls between the
CS and ALLEN, ALLEN, agreed to distribute fentanyl to the CS at the 1506 Arlington Avenue.
Investigators observed, through electronic surveillance, the geo-location of 3042 in the area of
1506 Arlington Avenue. Prior to the CS arriving at 1506 Arlington Avenue, investigators searched
the CS and the CS’ vehicle for contraband and/or currency with negative results. The CS was
provided with a recording device and OAF to purchase narcotics from ALLEN. Investigators
observed the CS arrive at 1506 Arlington Avenue, exit his/her vehicle, and enter onto the front
porch of 1506 Arlington Avenue. After there was no answer the front door, the CS was waved
around to the side of 1506 Arlington Avenue by ALLEN.


       15.     Approximately 30 minutes later, investigators observed ALLEN, empty handed,
exit 1506 Arlington Avenue and enter into the side door of 1507 Arlington Avenue. A few minutes
later, investigators observed ALLEN exit 1507 Arlington Avenue, carrying a box, and enter into
the front door of 1506 Arlington Avenue. While inside of 1506 Arlington Avenue, the CS
exchanged $3,000.00 in OAF for approximately 130 gross grams of fentanyl, from ALLEN.


       16.     Approximately 20 minutes later, investigators observed the CS exit 1506 Arlington
Avenue, enter into his/her vehicle, and depart. Pursuant to the meet, the CS provided investigators
with approximately 130 gross grams of fentanyl, which later field tested positive for fentanyl,
which was purchased from ALLEN with OAF. Investigators searched the CS and the CS’ vehicle
for contraband and/or currency with negative results. The CS implied that 1506 Arlington Avenue
was being remodeled and ALLEN had to retrieve a blender from 1507 Arlington Avenue to “mix”



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the fentanyl. Investigators did hear what sounded like a blender running in the background on the
recorded device.


       17.     Throughout this investigation, investigators have conducted three controlled
purchases from ALLEN resulting in the seizure of approximately 310 gross grams of fentanyl and
approximately 240 gross grams of cocaine. Two out of the three controlled purchases occurred at
1507 and 1506 Arlington Avenue and were conducted within 1,000 feet of a school zone.


       18.     Based on my training, experience, and my review of the evidence gathered by
investigators assigned to this investigation, there is probable cause to believe that Charles Anthony
ALLEN has violated 21 U.S.C 841(a)(1), Possession with Intent to Distribute a Detectable amount
of Fentanyl, 21 U.S.C 841(a)(1), Possession with Intent to Distribute a Detectable amount of
Cocaine, 21 U.S.C. 860, Distribution or Manufacturing in or near a School Zone.




                                                       ____________
                                                      ___________________________________
                                                       lexa Montesan
                                                      Alexa Montesano
                                                      Drug Enforcement Administration
                                                      Special Agent




       SUBSCRIBED and SWORN to before me
             _____
       this _______                              _________
             30th day of November, 2023. Time: ___________
                                                 11:34 AM



       ________________________________________
       Honorable Elizabeth Preston Deavers
       United States Magistrate Judge
       Southern District of Ohio




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